Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 1 of 28 PageID #: 52




                       EXHIBIT F
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 2 of 28 PageID #: 53




Document title: V SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=v_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:55:02 GMT                                           Page 1 of 3
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 3 of 28 PageID #: 54




Document title: V SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=v_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:55:02 GMT                                           Page 2 of 3
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 4 of 28 PageID #: 55




Document title: V SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=v_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:55:02 GMT                                           Page 3 of 3
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 5 of 28 PageID #: 56




Document title: ERIC PETERSON SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=eric_peterson_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:56:27 GMT                                           Page 1 of 2
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 6 of 28 PageID #: 57




Document title: ERIC PETERSON SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=eric_peterson_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:56:27 GMT                                           Page 2 of 2
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 7 of 28 PageID #: 58




Document title: KARL SANDERS SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=karl_sanders_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:57:00 GMT                                           Page 1 of 2
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 8 of 28 PageID #: 59




Document title: KARL SANDERS SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=karl_sanders_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:57:00 GMT                                           Page 2 of 2
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 9 of 28 PageID #: 60




Document title: MICHAEL SCHENKER SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=michael_schenker_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:57:38 GMT                                           Page 1 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 10 of 28 PageID #: 61




Document title: MICHAEL SCHENKER SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=michael_schenker_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:57:38 GMT                                           Page 2 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 11 of 28 PageID #: 62




Document title: TRACI GUNS SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=traci_guns_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:58:01 GMT                                           Page 1 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 12 of 28 PageID #: 63




Document title: TRACI GUNS SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=traci_guns_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:58:01 GMT                                           Page 2 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 13 of 28 PageID #: 64




Document title: Z SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=z_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:59:15 GMT                                           Page 1 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 14 of 28 PageID #: 65




Document title: Z SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=z_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:59:15 GMT                                           Page 2 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 15 of 28 PageID #: 66




Document title: JOHN CONNOLLY SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=john_connolly_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:59:51 GMT                                           Page 1 of 2
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 16 of 28 PageID #: 67




Document title: JOHN CONNOLLY SERIES | Dean Guitars
Capture URL: http://www.deanguitars.com/subcategory?series=john_connolly_series
Capture timestamp (UTC): Wed, 18 Oct 2017 21:59:51 GMT                                           Page 2 of 2
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 17 of 28 PageID #: 68




Document title: Electric Guitars | Luna Guitars
Capture URL: https://www.lunaguitars.com/electric-guitars
Capture timestamp (UTC): Fri, 10 May 2019 03:33:35 GMT                                            Page 1 of 1
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 18 of 28 PageID #: 69




Document title: Athena Semi-Hollowbody - Natural | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=819998084837
Capture timestamp (UTC): Fri, 10 May 2019 03:34:22 GMT                                           Page 1 of 3
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 19 of 28 PageID #: 70




Document title: Athena Semi-Hollowbody - Natural | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=819998084837
Capture timestamp (UTC): Fri, 10 May 2019 03:34:22 GMT                                           Page 2 of 3
                 Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 20 of 28 PageID #: 71




Document title: Athena Semi-Hollowbody - Natural | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=819998084837
Capture timestamp (UTC): Fri, 10 May 2019 03:34:22 GMT                                           Page 3 of 3
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 21 of 28 PageID #: 72




Document title: Fauna Hummingbird Quilt Maple A/E GN | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=814064029262
Capture timestamp (UTC): Fri, 10 May 2019 03:36:41 GMT                                            Page 1 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 22 of 28 PageID #: 73




Document title: Fauna Hummingbird Quilt Maple A/E GN | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=814064029262
Capture timestamp (UTC): Fri, 10 May 2019 03:36:41 GMT                                            Page 2 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 23 of 28 PageID #: 74




Document title: Fauna Hummingbird Quilt Maple A/E GN | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=814064029262
Capture timestamp (UTC): Fri, 10 May 2019 03:36:41 GMT                                            Page 3 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 24 of 28 PageID #: 75




Document title: Fauna Hummingbird Quilt Maple A/E GN | Luna Guitars
Capture URL: https://www.lunaguitars.com/query?upc=814064029262
Capture timestamp (UTC): Fri, 10 May 2019 03:36:41 GMT                                            Page 4 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 25 of 28 PageID #: 76




Document title: Modern 24 Select Flame Floyd Tiger Eye | Dean Guitars | Iconic Rock &#39;n&#39; Roll Guitar Company
Capture URL: https://www.deanguitars.com/products/modern-24-select-flame-top-tiger-eye
Capture timestamp (UTC): Fri, 10 May 2019 03:37:44 GMT                                                                Page 1 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 26 of 28 PageID #: 77




Document title: Modern 24 Select Flame Floyd Tiger Eye | Dean Guitars | Iconic Rock &#39;n&#39; Roll Guitar Company
Capture URL: https://www.deanguitars.com/products/modern-24-select-flame-top-tiger-eye
Capture timestamp (UTC): Fri, 10 May 2019 03:37:44 GMT                                                                Page 2 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 27 of 28 PageID #: 78




Document title: Modern 24 Select Flame Floyd Tiger Eye | Dean Guitars | Iconic Rock &#39;n&#39; Roll Guitar Company
Capture URL: https://www.deanguitars.com/products/modern-24-select-flame-top-tiger-eye
Capture timestamp (UTC): Fri, 10 May 2019 03:37:44 GMT                                                                Page 3 of 4
                  Case 4:19-cv-00358-ALM Document 1-6 Filed 05/14/19 Page 28 of 28 PageID #: 79




Document title: Modern 24 Select Flame Floyd Tiger Eye | Dean Guitars | Iconic Rock &#39;n&#39; Roll Guitar Company
Capture URL: https://www.deanguitars.com/products/modern-24-select-flame-top-tiger-eye
Capture timestamp (UTC): Fri, 10 May 2019 03:37:44 GMT                                                                Page 4 of 4
